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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

GEORGE STEWART,
    Plaintiff,

v.                                                           No. 5:23-CV-007-H

TEXAS TECH UNIVERSITY HEALTH
SCIENCES CENTER, et al.,
     Defendants.
                       MEMORANDUM OPINION AND ORDER
       In this case, George Stewart sues six public medical schools in the Texas Tech and

University of Texas systems due to their alleged use of race and sex preferences in student

admissions. The defendants move to dismiss the suit, and UT moves to sever the claims

against its defendants and transfer them to Austin. Stewart’s complaint raises serious

allegations, but much has changed since he first brought it. First, the Supreme Court held in

Students for Fair Admissions that race-conscious admissions policies are unconstitutional.

Second, in August 2023, UT’s Board of Regents repealed its rule that authorized UT

institutions to develop and implement affirmative-action plans, and the Board further

directed its general counsel to make changes in other rules as necessary to comply with

SFFA. As a result of these developments, the plaintiff’s race-discrimination claims for

declaratory or injunctive relief against UT are moot and are dismissed. Stewart has,

however, sufficiently alleged standing and his cause of action for the remaining race-based

claims. But he has not plausibly alleged that the defendants used sex preferences, so his sex-

discrimination claims are dismissed. Finally, the Court grants UT’s motion to sever and

transfer. UT was improperly joined with Tech because the two systems—and their

admissions policies and decisions—are distinct and operate independently of one another.
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       Thus, the Court grants in part and denies in part UT’s motion to dismiss (Dkt. No.

35) and Tech’s motion to dismiss (Dkt. No. 33). UT has demonstrated that the plaintiff’s

race-based claims for prospective relief are moot, and the Court dismisses those claims

against the UT defendants without prejudice under Rule 12(b)(1). In contrast, the Court

concludes that the plaintiff has standing for his surviving race-based claims and has

plausibly alleged that the defendants used race-based admissions preferences. He has not,

however, plausibly alleged the use of sex-based preferences, which both deprives him of

standing on those claims and fails to state a claim. Accordingly, the Court dismisses his

Title IX claim and his sex-based Equal Protection claim under Rule 12(b)(1) and 12(b)(6).

With no claims remaining against them, the Court dismisses the individual UT defendants

entirely. The plaintiff’s Title VI, Section 1981, and Equal Protection claims based on racial

preferences survive against all Tech defendants, and his Title VI claim for damages survives

against the institutional UT defendants. Should Stewart choose to attempt to remedy the

flaws identified in this Order, the Court grants him leave to amend his complaint within 14

days from the date of this Order.

       Although some claims against UT survive, they cannot proceed with the claims

against Tech in this Court. The two university systems are independent from one another,

are governed by different boards of regents, and have different admissions policies. Thus,

the UT defendants are improperly joined with the Tech defendants under Rule 20 because

the claims against the two groups do not arise out of the same series of transactions or

occurrences. Once severed, the claims against UT are not properly brought in this division.

But the claims could have been brought in Austin, and Austin is the most convenient venue

for the parties. Accordingly, the Court grants UT’s motion to sever and transfer the claims




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against UT to the Western District of Texas, Austin Division (Dkt. No. 36). The Clerk of

Court is directed to sever the claims against the remaining UT defendants—University of

Texas at Austin, UT Health Science Center at Houston, UT Medical Branch at Galveston,

UT Health Science Center at San Antonio, and UT Southwestern Medical Center—into a

separate action and transfer that new civil action to the Western District of Texas, Austin

Division.

1.        Factual and Procedural Background

          A.      Factual Allegations1

          The plaintiff, George Stewart, is a white male. Dkt. No. 1 ¶ 51. He wished to

become a physician and applied for admission at each of the defendant medical schools—

Texas Tech University Health Sciences Center (TTUHSC), Dell Medical School at the

University of Texas at Austin (UT Austin), McGovern Medical School at the University of

Texas Health Science Center at Houston (UT Houston), John Sealy School of Medicine at

the University of Texas Medical Branch at Galveston (UT Galveston), Long School of

Medicine at the University of Texas Health Science Center at San Antonio (UT San

Antonio), and University of Texas Southwestern Medical Center (UT Southwestern). Id.

¶ 36. He had an undergraduate GPA of 3.96 in biology, an MCAT score of 511, and

experience in medical facilities. Id. However, he was not admitted to the defendant

medical schools, “while over 450 lesser qualified minority students, ranging as low as a

GPA of 2.82 or an MCAT of 495, were offered admission.” Id.




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    When considering a Rule 12(b)(1) and 12(b)(6) motion, a court “take[s] the well-pled factual
    allegations of the complaint as true and view[s] them in the light most favorable to the plaintiff.”
    Lane v. Halliburton, 529 F.3d 548, 557 (5th Cir. 2008).


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          The plaintiff then “obtained the admissions data for each of the six medical schools

through an open-records request, which revealed the race, sex, grade-point average, and

MCAT score of every applicant in the 2021–2022 cycle.” Id. ¶ 37. Those records show that

“the median and mean grade-point averages and MCAT scores of admitted black and

Hispanic students are significantly lower than the grade-point averages and MCAT scores of

admitted white and Asian students.” Id. ¶ 38. For each medical school, the plaintiff

provides a graph of the distributions of admitted students’ MCAT scores, divided by racial

group. See id. ¶¶ 39–47. Those graphs reveal that at each school the median MCAT scores

of black and Hispanic admitted students are several points lower than the median MCAT

scores of white and Asian admitted students. See id. And at each of the UT medical

schools, the 75th percentile score for admitted black students is about the same as or several

points below the 25th percentile score for admitted white and Asian students. See id. For

TTUHSC, the 75th percentile score for admitted black students is about the same as the

25th percentile score for Asian students and a little below the median score for white

students. Id. ¶ 41. In addition, at UT Austin, Houston, and Galveston, there is “a

statistically significant relationship between a positive admissions decision and an

applicant’s status” as black or Hispanic. Id. ¶¶ 40, 42, 45.2

          The plaintiff provides similar graphs of admitted students’ MCAT scores divided by

sex for each school except UT Austin. See id. ¶¶ 39–47. Those graphs demonstrate that at


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    The plaintiff also cites an admissions policy at UT Galveston of, in short, intentionally recruiting
    and admitting underrepresented minorities—applicants who indicate a race or ethnicity of
    “American Indian, Alaska Native, Black, African American, Hispanic, Latino, Hawaiian, or
    Pacific Islander.” Dkt. No. 1 ¶ 49. However, UT notes that the policy was not in effect when the
    plaintiff applied to UT Galveston and is no longer in effect. Dkt. Nos. 35 at 10; 35-1 at 3. Because
    the policy is not necessary for the Court’s analysis and the parties do not devote much argument to
    it, the Court does not discuss it further.


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each school except UT Southwestern the median MCAT scores of admitted female students

are lower than the median scores of admitted male students. See id. ¶¶ 41–47. And at UT

Austin and Galveston, there is “a statistically significant relationship between a positive

admissions decision and an applicant’s status as a female.” Id. ¶¶ 40, 45.

          The plaintiff thus alleges that “[e]ach of the defendant medical schools and

universities, along with nearly every medical school and university in the United States,

discriminates on account of race and sex” by “providing admissions preferences to female,

black, and Hispanic applicants while unlawfully discriminating against whites, Asians, and

men in admissions decisions.” Id. ¶¶ 33, 48 (footnote omitted). He alleges that these

affirmative-action policies “allow[] applicants with inferior academic credentials to obtain

admission at the expense of rejected candidates with better academic credentials.” Id. ¶ 33.

          B.     Procedural History and Subsequent Developments

          The plaintiff filed suit against the six medical schools and various officials at those

institutions in their official capacities3 in January 2023, alleging violations of Title VI, Title




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    The individual Tech defendants are Lori Rice-Spearman, President of TTUHSC; Steven Lee Berk,
    Dean of the School of Medicine; Lindsay Johnson, Associate Dean for Admissions and Student
    Affairs; Hollie Stanton, Senior Director for Admissions and Student Affairs; and Jeri Moravcik,
    Director of Admissions. Dkt. No. 1 ¶¶ 5–9.
    The individual UT Austin defendants are Jay Hartzell, President of the University of Texas at
    Austin; Claudia F. Lucchinetti, Dean of Dell Medical School; Travis Crook, Associate Dean of
    Student Affairs for Dell; and Joel A. Daboub, Director of Admissions and Records at Dell. Id.
    ¶¶ 11–14; Dkt. No. 56.
    The individual UT Houston defendants are Giuseppe N. Colasurdo, President of the UT Health
    Science Center at Houston; John Hancock, Executive Dean of the McGovern Medical School; and
    Margaret C. McNeese, Associate Dean for Admissions and Student Affairs. Dkt. No. 1 ¶¶ 16–18.




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IX, 42 U.S.C. § 1981, and the Equal Protection Clause. Id. ¶¶ 4–32, 60–85. He also seeks to

certify a class of “all white and Asian men who stand ‘able and ready’ to apply for

admission to any of these six medical schools.” Id. ¶ 54. The plaintiff seeks declarations

that “each of the defendants is violating Title VI and Title IX” and that “the individual

defendants (but not the institutional defendants) are violating 42 U.S.C. § 1981(a) and the

Equal Protection Clause.” Id. ¶ 86. Additionally, he requests permanent injunctions

preventing the defendants from “considering race or sex in student admissions” and from

“asking or allowing an applicant for admission to reveal their race or sex.” Id. He also asks

the Court to appoint a court monitor overseeing admissions decisions and diversity offices

at the medical schools. Id. Finally, he also requests nominal, compensatory, and punitive

damages and attorneys’ fees. Id.4

          In June 2023, the Supreme Court decided Students for Fair Admissions, Inc. v. President

& Fellows of Harvard College (SFFA), 600 U.S. 181 (2023). In that case, the Court held that

the race-conscious admissions policies at Harvard College and the University of North


    The individual UT Galveston defendants are Charles P. Mouton, President ad interim of UT
    Medical Branch; Jeffrey Susman, Interim Dean of the John Sealy School of Medicine; Ruth E.
    Levine, Associate Dean of Student Affairs and Admissions at Sealy; and Pierre W. Banks,
    Assistant Dean of Admissions and Recruitment at Sealy. Id. ¶¶ 20–23.
    The individual UT San Antonio defendants are Robert A. Hromas, Acting President of UT Health
    Science Center at San Antonio and Dean of the Long School of Medicine; Belinda Chapa
    Gonzalez, Director of Admissions and Special Programs Undergraduate Medical Education at
    Long; and Chiquita Collins, Vice President for Diversity, Equity and Inclusion and Chief Diversity
    Officer. Id. ¶¶ 25–28; Dkt. No. 56.
    The individual UT Southwestern defendants are Daniel K. Podolsky, President of UT
    Southwestern; W.P. Andrew Lee, Dean of the UT Southwestern Medical School; and Alanna
    Edwards, Director of Admissions and Recruitment at UT Southwestern Medical School. Dkt.
    Nos. 1 ¶¶ 30–32; 56.
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    The case was initially stayed because the UT Austin defendants requested legal representation from
    the Texas Office of the Attorney General, but the OAG withheld its decision on that request for
    several months and declined to provide representation or authorize the hiring of outside counsel in
    the interim. See Dkt. Nos. 13 at 2–4; 19 at 2; 21; 24 at 2; 26.


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Carolina violated the Equal Protection Clause, noting that “the student must be treated

based on his or her experiences as an individual—not on the basis of race.” Id. at 230–31.

       Then, in August 2023, the Board of Regents of the University of Texas System

repealed Regents’ Rule 40304 (the Rule). Dkt. No. 35-1 at 3–5. That Rule “authorized”

UT institutions “to develop and propose plans regarding whether to consider an applicant’s

race and ethnicity, as part of the institution’s admissions or financial assistance policies, in

accordance with” Grutter v. Bollinger, 539 U.S. 306 (2003), and Gratz v. Bollinger, 539 U.S.

244 (2003). Dkt. No. 35-1 at 7. It also imposed limits on those policies: before an

institution could “propose to consider race or ethnicity,” it had to “find[], after serious and

good faith consideration, that race-neutral alternatives are inadequate” and “develop a

written plan,” and the proposals for policies considering race and ethnicity had to be

“reviewed and approved by System Administration’s Office of General Counsel, and by the

appropriate Executive Vice Chancellor, prior to implementation.” Id. But because the

Board acknowledged that SFFA “prohibit[ed] the use of race as a factor in student

admissions,” it “formally document[ed] the repeal of Regents’ Rule 40304.” Id. at 5. The

Board further explained that it directed its general counsel “to make changes in other

Regents’ Rules as necessary to comply with [SFFA]” and “[a]ccordingly . . . deleted” Rule

40304. Id.

       The defendants filed motions to dismiss under Federal Rules of Civil Procedure

12(b)(1) and 12(b)(6). Dkt. Nos. 33; 35. UT argues that the plaintiff’s race-discrimination

claims seeking prospective relief are moot in light of SFFA and the repeal of the Rule and

that the plaintiff has failed to state a claim of intentional discrimination. Dkt. No. 35. Tech

argues that because the plaintiff has not plausibly alleged race or sex discrimination, he



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lacks standing and cannot state a claim. Dkt. No. 33. UT also filed a motion to sever and

transfer venue, arguing that because UT is improperly joined with Tech under Rule 20, it

should be severed under Rule 21 and transferred to the Western District of Texas, Austin

Division. Dkt. No. 36. UT then moved to stay discovery and initial disclosures pending

resolution of the outstanding motions, which the Court denied. Dkt. Nos. 41; 42. The

plaintiff filed his responses to the motions (Dkt. Nos. 43; 44; 45), and the defendants replied

(Dkt. Nos. 49; 50; 51). All three motions are ripe for consideration by the Court.

       The Court notes that in a typical case, if a court finds that severance and transfer is

necessary, it transfers the case without addressing the merits of the claims. However,

certain unique factors are present here. Both sets of defendants have challenged whether the

federal courts have proper subject-matter jurisdiction over this case. See Fed. R. Civ. P.

12(h)(3) (“If the court determines at any time that it lacks subject-matter jurisdiction, the

court must dismiss the action.”). Further, the Court had to consider the sufficiency of the

complaint to decide Tech’s Rule 12(b)(6) motion, and at this stage in the litigation, the

allegations against each school are very similar. Thus, the Court determines that there is

considerable judicial efficiency in deciding all of the motions pending before it at this time.

2.     Motions to Dismiss

       The Court finds that the plaintiff’s race-based claims for prospective relief against UT

are now moot due to SFFA and the repeal of the Regents’ Rule. Thus, those claims are

dismissed against the UT defendants. The Court also finds that the plaintiff has failed to

plausibly allege an injury-in-fact and a claim for relief for his sex-based claims against UT

and Tech, so those claims are also dismissed. Because the individual UT defendants were

only sued in their official capacity for prospective relief and all claims against them have




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been dismissed, those individuals are dismissed. However, the plaintiff has plausibly

alleged his standing and his claim for his race-based claims for damages against the

institutional UT defendants and all of his race-based claims against all Tech defendants.

Thus, those claims survive dismissal.

       A.      Standards of Review

       Both sets of defendants have moved to dismiss the complaint under Rule 12(b)(1) for

lack of subject-matter jurisdiction and under Rule 12(b)(6) for failure to state a claim upon

which relief can be granted. See Fed. R. Civ. P. 12(b); Dkt. Nos. 33; 35. In considering

both a 12(b)(1) and 12(b)(6) motion, a court must “take the well-pled factual allegations of

the complaint as true and view them in the light most favorable to the plaintiff.” Lane, 529

F.3d at 557. A court should only dismiss the claim if it determines that the plaintiff has not

pled a plausible set of facts that would establish jurisdiction and state a claim. See id.

               i.     Rule 12(b)(1)

       A party may challenge a court’s subject-matter jurisdiction by a Rule 12(b)(1) motion

to dismiss. Fed. R. Civ. P. 12(b)(1); Ramming v. United States, 281 F.3d 158, 161 (5th Cir.

2001). When considering such a motion, “the court may find a plausible set of facts by

considering any of the following: ‘(1) the complaint alone; (2) the complaint supplemented

by the undisputed facts evidenced in the record; or (3) the complaint supplemented by

undisputed facts plus the court’s resolution of disputed facts.’” Lane, 529 F.3d at 557

(quoting Barrera-Montenegro v. United States, 74 F.3d 657, 659 (5th Cir. 1996)). The plaintiff,

as the party asserting jurisdiction, “constantly bears the burden of proof that jurisdiction

does in fact exist.” Ramming, 281 F.3d at 161. Thus, at the pleading stage, the plaintiff




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must “allege a plausible set of facts establishing jurisdiction.” Physician Hosps. of Am. v.

Sebelius, 691 F.3d 649, 652 (5th Cir. 2012).

       A defendant may make either a facial attack or a factual attack on subject-matter

jurisdiction. Paterson v. Weinberger, 644 F.2d 521, 523 (5th Cir. May 1981). For a facial

attack, “the trial court is required merely to look to the sufficiency of the allegations of the

complaint because they are presumed to be true.” Id. For a factual attack, “the defendant

submits affidavits, testimony, or other evidentiary materials.” Id. Then, the plaintiff must

“submit facts through some evidentiary method and has the burden of proving by a

preponderance of the evidence that the trial court does have subject matter jurisdiction.” Id.

The Court “is free to weigh the evidence and satisfy itself as to the existence of its power to

hear the case.” Williamson v. Tucker, 645 F.2d 404, 412–13 (5th Cir. May 1981) (quoting

Mortensen v. First Fed. Sav. & Loan Ass’n, 549 F.2d 884, 891 (3d Cir. 1977)). Accordingly,

“the plaintiff should have an opportunity to develop and argue the facts in a manner that is

adequate in the context of the disputed issues and evidence.” Id. at 414. However, “an oral

hearing is not always necessary if the parties receive an adequate opportunity to conduct

discovery and otherwise present their arguments and evidence to the court.” In re Eckstein

Marine Serv. L.L.C., 672 F.3d 310, 319–20 (5th Cir. 2012), overruled on other grounds by In re

Bonvillian Marine Serv., Inc., 19 F.4th 787 (5th Cir. 2021).

       Here, the parties have not requested an evidentiary hearing, and the Court finds that

one is not necessary. The key facts of the Rule’s repeal are undisputed. The parties have

had the opportunity to conduct discovery, and the plaintiff has had the opportunity to

present his arguments and evidence regarding jurisdiction. Nothing in the record indicates

that the plaintiff “was unable to adequately present [his] evidence in writing or that [he]



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would have been able to make different or more persuasive arguments at an oral hearing.”

Id. at 320. Thus, the Court concludes that the plaintiff has had “notice and an opportunity

to be heard.” Id.; cf. Schelske v. Austin, No. 6:22-CV-049-H, 2023 WL 5986462, at *7 (N.D.

Tex. Sept. 14, 2023).

               ii.      Rule 12(b)(6)

       A complaint must contain “a short and plain statement of the claim showing that the

pleader is entitled to relief.” Fed. R. Civ. P. 8(a)(2). “To survive a [Rule 12(b)(6)] motion

to dismiss, a complaint must contain sufficient factual matter which, when taken as true,

states ‘a claim to relief that is plausible on its face.’” Innova Hosp. San Antonio, Ltd. P’ship v.

Blue Cross & Blue Shield of Ga., Inc., 892 F.3d 719, 726 (5th Cir. 2018) (quoting Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007)). In other words, the plaintiff must plead facts “that

allow[] the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “The plausibility standard

is not akin to a ‘probability requirement,’ but it asks for more than a sheer possibility that a

defendant has acted unlawfully.” Id. If a complaint pleads facts that are “‘merely consistent

with’ a defendant’s liability, it ‘stops short of the line between possibility and plausibility of

“entitlement to relief.”’” Id. (quoting Twombly, 550 U.S. at 557).

       Under Rule 12(b)(6), the Court is limited to considering “the complaint, its proper

attachments, documents incorporated into the complaint by reference, and matters of which

a court may take judicial notice.” Innova Hosp., 892 F.3d at 726 (internal quotation marks

omitted) (quoting Wolcott v. Sebelius, 635 F.3d 757, 763 (5th Cir. 2011)). Although the Court

must “take the well-pled factual allegations of the complaint as true and view them in the

light most favorable to the plaintiff,” Lane, 529 F.3d at 557, it should not “accept as true



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conclusory allegations, unwarranted factual inferences, or legal conclusions,” Gentilello v.

Rege, 627 F.3d 540, 544 (5th Cir. 2010) (quoting Plotkin v. IP Axess Inc., 407 F.3d 690, 696

(5th Cir. 2005)). “Threadbare recitals of the elements of a cause of action, supported by

mere conclusory statements, do not suffice” for purposes of stating a plausible claim to

relief. Iqbal, 556 U.S. at 678. This analysis is a “context-specific task,” and the Court

should “draw on its judicial experience and common sense.” Id. at 679.

       B.      Analysis

       The Court dismisses as moot the race-discrimination claims for prospective

declaratory and injunctive relief against the UT defendants, in light of SFFA and the repeal

of Regents’ Rule 40304. However, the Court finds that the plaintiff has sufficiently

established his standing for and stated a claim as to his remaining race-based claims,

because he has plausibly alleged that the defendants used race-based admissions preferences.

Accordingly, his Title VI, Section 1981, and race-based Equal Protection claims survive

against all Tech defendants, and his Title VI claim for damages survives against the

institutional UT defendants. But the Court dismisses the plaintiff’s Title IX claim and sex-

based Equal Protection claim for lack of standing and failure to state a claim because he has

failed to plausibly allege that the defendants used sex preferences in admissions, which

results in the total dismissal of the individual UT defendants.

               i.     The plaintiff’s race-discrimination claims for prospective relief are
                      moot as to the UT defendants.

       The Court first addresses a Rule 12(b)(1) challenge to subject-matter jurisdiction

before addressing any attack on the merits, Ramming, 281 F.3d at 161, and it may “address

jurisdictional issues in any order [it] choose[s],” Acheson Hotels, LLC v. Laufer, 601 U.S. 1, 4

(2023). UT argues that the race-discrimination claims for prospective declaratory and


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injunctive relief are now moot after SFFA5 and the repeal of Regents’ Rule 40304. Dkt. No.

35 at 12–14. UT asserts that the Rule was the only policy allowing the defendant medical

schools to consider race in admissions and that, after its repeal, the medical schools cannot

and will no longer use race as a factor in admissions decisions. Id.; Dkt. No. 50 at 4–8. The

UT defendants, as government actors, receive a presumption of good faith under Fifth

Circuit precedent, and they have demonstrated a formalized policy change, so the Court

concludes that the claims against them are moot.

          Article III limits the power of the federal judiciary to “Cases” and “Controversies.”

Already, LLC v. Nike, Inc., 568 U.S. 85, 90 (2013); U.S. Const. art. III, § 2. Thus, for a

federal court to have jurisdiction, “an ‘actual controversy’ must exist not only ‘at the time

the complaint is filed,’ but through ‘all stages’ of the litigation.” Already, LLC, 568 U.S. at

90–91 (quoting Alvarez v. Smith, 558 U.S. 87, 92 (2009)). A case becomes moot and a court

lacks jurisdiction “when the issues presented are no longer ‘live’ or the parties lack a legally

cognizable interest in the outcome.” Id. at 91 (quoting Murphy v. Hunt, 455 U.S. 478, 481

(1982)). Accordingly, “any set of circumstances that eliminates actual controversy after the

commencement of a lawsuit renders that action moot.” Freedom From Religion Found. v.

Abbott (Abbott II), 58 F.4th 824, 831–32 (5th Cir. 2023) (quoting DeOtte v. Nevada, 20 F.4th




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    Tech has also pointed to SFFA and argued that “[i]t is difficult to perceive what further relief
    Stewart expects from this Court beyond what the Supreme Court has provided.” Dkt. No. 33 at 10
    n.1 (quoting SFFA, 600 U.S. at 231). Insofar as this is an argument as to potential mootness, Tech
    “bears the burden to establish that a once-live case has become moot.” West Virginia v. EPA, 597
    U.S. 697, 719 (2022). However, Tech makes no real attempt to do so. It does not present any
    arguments or evidence regarding its compliance with SFFA, such as changes to its admissions
    policies in the wake of that decision that would prohibit the use of race in future admissions cycles.
    See generally Dkt. Nos. 33; 49. Perhaps it will do so later in this litigation or prove that no changes
    were necessary. But, at this point, it has presented no evidence or argument. Thus, Tech has failed
    to meet its burden, and the Court finds that the claims against it are not moot.


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1055, 1064 (5th Cir. 2021)). A case also becomes moot “if ‘it is impossible for a court to

grant any effectual relief whatever to the prevailing party.’” Texas v. Biden, 20 F.4th 928,

958 (5th Cir. 2021) (quoting Knox v. Serv. Emps. Int’l Union, Local 1000, 567 U.S. 298, 307

(2012)), rev’d and remanded on other grounds, 597 U.S. 785 (2022). Thus, a claim for

injunctive relief is moot if a “policy change . . . gave the plaintiffs ‘the precise relief [they

had] requested,’ leaving the injunction with no work to do.” Id. at 960 (second alteration in

original) (quoting N.Y. State Rifle & Pistol Ass’n v. City of New York, 140 S. Ct. 1525, 1526

(2020)). And a claim for declaratory relief “may sustain a suit only when the claims

challenge some ongoing policy rather than merely attacking an isolated action.” Harris v.

City of Houston, 151 F.3d 186, 191 n.5 (5th Cir. 1998) (cleaned up) (quoting City of Houston v.

HUD, 24 F.3d 1421, 1429 (D.C. Cir. 1994)).

       Here, the plaintiff seeks declaratory relief that “each of the defendants is violating

Title VI and Title IX” and that “the individual defendants . . . are violating 42 U.S.C.

§ 1981(a) and the Equal Protection Clause by discriminating in favor of women and non-

Asian racial minorities in student admissions.” Dkt. No. 1 ¶ 86. He also asks the Court to

“permanently enjoin the defendants from considering race or sex in student admissions.”

Id. UT argues that the plaintiff’s race-discrimination claims for prospective declaratory and

injunctive relief are moot in light of the repeal of the Rule. Dkt. No. 35 at 12–14. Because

UT has met its burden of showing that the UT defendants no longer consider race in

admissions, even under the voluntary-cessation standard, the Court agrees.

                       a.      The Court presumes that UT voluntarily repealed the Rule.

       First, the Court treats the repeal of the Rule as a voluntary act. Under the voluntary-

cessation exception to mootness, “a defendant’s voluntary cessation of a challenged practice




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does not deprive a federal court of its power to determine the legality of that practice.”

Abbott II, 58 F.4th at 833 (quoting Friends of the Earth, Inc. v. Laidlaw Env’t Servs. (TOC), Inc.,

528 U.S. 167, 189 (2000)). In other words, “a defendant cannot automatically moot a case

simply by ending its unlawful conduct once sued.” Already, LLC, 568 U.S. at 91.

“Otherwise, a defendant could engage in unlawful conduct, stop when sued to have the case

declared moot, then pick up where he left off, repeating this cycle until he achieves all his

unlawful ends.” Id.

       Thus, although the burden of proof is on the plaintiff to establish subject-matter

jurisdiction, Ramming, 281 F.3d at 161, “a defendant claiming that its voluntary compliance

moots a case bears the formidable burden of showing that it is absolutely clear the allegedly

wrongful behavior could not reasonably be expected to recur,” Already, LLC, 568 U.S. at 91

(quoting Friends of the Earth, Inc., 528 U.S. at 190); see also Kovac v. Wray, 449 F. Supp. 3d

649, 653 (N.D. Tex. 2020) (“Defendants retain [the] burden to establish mootness when the

defendants voluntarily cease the conduct that the plaintiff is challenging.”). This doctrine

“evaluates the risk that a defendant is engaging in ‘litigation posturing’ to avoid judicial

review.” U.S. Navy Seals 1–26 v. Biden, 72 F.4th 666, 673 (5th Cir. 2023) (quoting Yarls v.

Bunton, 905 F.3d 905, 910 (5th Cir. 2018)).

       Here, the parties dispute whether the repeal of the Regents’ Rule was “voluntary.”

The plaintiff argues that this is “a post-filing change in a defendant’s behavior” that falls into

the voluntary-cessation exception to mootness. Dkt. No. 44 at 6. However, UT argues that

the Board of Regents “repealed Rule 40304 not voluntarily, but in response to the Supreme

Court’s binding decision in SFFA.” Dkt. No. 50 at 7 (emphasis omitted). It asserts that




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because the Rule was repealed “to ensure that UT System institutions complied with the

law,” the voluntary-cessation exception does not apply. Id.

       The Court treats the repeal of the Rule as voluntary and proceeds to the voluntary-

cessation analysis. A defendant’s actions in accordance with new legislation or under

“compulsion of an enforcement action or judicial order” are deemed involuntary. Fontenot

v. McCraw, 777 F.3d 741, 747 n.9 (5th Cir. 2015) (citing Env’t Conservation Org. v. City of

Dallas, 529 F.3d 519, 528 (5th Cir. 2008)); accord. Daves v. Dallas County, 64 F.4th 616,

633–34 (5th Cir. 2023) (en banc). However, the Fifth Circuit has previously analyzed a

defendant’s compliance with new binding precedent under the voluntary-cessation

framework. In Boudreaux v. Louisiana State Bar Association, “[i]n response to” new Fifth

Circuit precedent, the defendant “changed its internal policies and stopped almost all of its

[challenged] legislative activity.” 86 F.4th 620, 624 (5th Cir. 2023). In its mootness

analysis, the Fifth Circuit recounted those changes, noting that the changes were made “to

accord with” that new precedent, and observed that “voluntary cessation does not normally

moot a case.” Id. at 630. The court then proceeded with the voluntary-cessation analysis

and found that the case was not moot because the defendant was a government actor

entitled to a presumption of good faith. Id. Thus, the court treated the defendant’s

compliance with new case law as voluntary, not involuntary. The Court does the same

here. Further, because UT meets its burden of showing mootness even under the

heightened voluntary-cessation burden, see infra Section 2.B.i.c, the Court assumes arguendo

that the burden applies and proceeds with the analysis.




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                      b.      Under Fifth Circuit precedent, the UT defendants receive the
                              government-actor presumption of good faith.

       Next, the Court concludes that in this case, the UT defendants are government actors

entitled to a presumption of good faith in the voluntary-cessation framework. Although

defendants still bear the burden of showing mootness based on voluntary cessation,

government actors receive “some solicitude” in this analysis. Sossamon v. Lone Star State of

Texas, 560 F.3d 316, 325 (5th Cir. 2009), aff’d sub nom. Sossamon v. Texas, 563 U.S. 277

(2011). “[G]overnment actors in their sovereign capacity and in the exercise of their official

duties are accorded a presumption of good faith because they are public servants, not self-

interested private parties.” Id. Under this presumption, “[w]ithout evidence to the contrary,

[courts] assume that formally announced changes to official government policy are not mere

litigation posturing.” Id. As a result, government defendants have a “lighter burden” to

show that a case is moot. Id. Unless there is “evidence that the voluntary cessation is a

sham for continuing possibly unlawful conduct,” a government defendant does not have to

show a “physical or logical impossibility that the challenged policy will be reenacted.” Id.

       Here, it is not disputed that the UT defendants are state government actors. And

while the Fifth Circuit has not definitively addressed whether public universities are entitled

to the good-faith presumption, see Speech First, Inc. v. Fenves, 979 F.3d 319, 328 (5th Cir.

2020) (assuming arguendo that the good-faith presumption applied “for purposes of th[e]

case”), the Court finds that it is applicable here. For one, Fenves arose in the “fact-specific

context” of university speech codes and “a sudden change of heart, during litigation.”

Abbott II, 58 F.4th at 835 n.7 (quoting Fenves, 979 F.3d at 328). Here, however, the repeal of

the Regents’ Rule was not “a sudden change of heart,” but a direct response to a change in

the law. See Dkt. No. 35-1 at 5. As such, there are fewer concerns that UT’s voluntary


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cessation may be “a sham for continuing possibly unlawful conduct” or avoiding litigation.

Sossamon, 560 F.3d at 325.

          Moreover, in Fenves, the Fifth Circuit also found that the three factors that could

overcome the government actor’s good-faith presumption were present: (1) an “absence of a

controlling statement of future intention” to not repeat the challenged conduct;

(2) “suspicious timing of the change”; and (3) the defendant’s continued defense of its

original policies. 979 F.3d at 328–29. Here, while UT does defend its past admissions

policies, see Dkt. Nos. 35 at 21; 50 at 9–10, the other two factors point away from litigation

posturing. The defendants have presented a sworn statement by UT Galveston’s Assistant

Dean for Admissions and Recruitment that “race is not a consideration for admissions in

the 2024 admissions cycle to the medical school or going forward.” Dkt. No. 35-1 at 3.6 In

addition, the Rule authorizing affirmative-action programs was formally repealed, and the

language used in the minutes documenting the repeal indicate that it was done to comply

with SFFA. Id. at 4–5. This points to a lower risk of a return to the old policies, as long as

SFFA is the law of the land. And as to the second factor, the Rule was repealed in August

2023, about seven months after this case was filed and about two months after SFFA was

decided. See Dkt. Nos. 1; 35-1 at 4–6. The distance from the filing of the complaint but the

proximity to SFFA gives credence to the claim that the repeal was done not to escape

litigation but to comply with new Supreme Court authority.

          Thus, there are very few indicators that this case is like Fenves, where the university

appeared to be trying to moot out the litigation and potentially resume its old policies. The


6
    However, it is unclear how much control the Assistant Dean has over his school’s admissions
    policies. See Fenves, 979 F.3d at 328–29 (requiring “sworn testimony” from a person with “control
    over whether the University will reimplement the challenged definitions” (quotation omitted)).


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three factors that would defeat the good-faith presumption are not all present here. And the

record does not evince signs of gamesmanship, litigation posturing, or bad faith by the UT

defendants. Cf. U.S. Navy Seals 1–26, 72 F.4th at 674–75, 675 n.8. As a result, under these

facts, the Court concludes that the UT defendants are government actors entitled to a

presumption of good faith in the voluntary-cessation analysis.

                     c.      UT has met its burden of showing that the challenged
                             behavior cannot be reasonably expected to recur.

       Finally, the Court concludes that the UT defendants have met their burden to show

that the alleged affirmative-action policies “cannot ‘reasonably be expected to recur.’” See

Sossamon, 560 F.3d at 325 (quoting Friends of the Earth, Inc., 528 U.S. at 189). When the

good-faith presumption accorded to government actors applies, the Court may “assume that

formally announced changes to official governmental policy are not mere litigation

posturing,” absent “evidence to the contrary.” Id. And a government defendant does not

have to show a “physical or logical impossibility that the challenged policy will be

reenacted,” as long as there is no “evidence that the voluntary cessation is a sham for

continuing possibly unlawful conduct.” Id.

       For example, in Sossamon, the defendant met its mootness burden when the director

of the Correctional Institutes Division of the Texas Department of Criminal Justice

submitted an affidavit certifying that Texas had ended the challenged policy. Id. at 322,

324–25. Similarly, in Boudreaux, the defendant bar association “changed its bylaws and

procedures to accord with” new binding precedent, incorporating a rule “prohibit[ing] [the

defendant] from engaging in” the challenged conduct. 86 F.4th at 630. In U.S. Navy Seals

1–26, the Navy rescinded its vaccine mandate, revoked implementing policies, and

promulgated new policies stating that no vaccine mandate would be imposed on


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servicemembers. 72 F.4th at 672. However, in Freedom From Religion Foundation v. Abbott

(Abbott I), mere “arguments through counsel that [the defendants’] behavior will change,”

although treated as good-faith representations, were insufficient because the defendants did

not retract a prior statement that they would continue denying the applications at issue in

the case. 955 F.3d 417, 425 (5th Cir. 2020). In sum, “the government defendants bear the

burden—a modified, lighter burden, but a burden nonetheless—to make it ‘absolutely clear’

that” their challenged conduct will not resume, so they must present some evidence beyond

mere argument. Kovac, 449 F. Supp. 3d at 654 (quoting Sossamon, 560 F.3d at 325).

          The Court concludes that the repeal of Regents’ Rule 40304 constitutes such a

“formally announced change[] to official government policy.” Sossamon, 560 F.3d at 325.

Rule 40304 “authorized” UT institutions “to develop and propose plans regarding whether

to consider an applicant’s race and ethnicity, as part of the institution’s admissions or

financial assistance policies, in accordance with” then-existing Supreme Court precedent.

Dkt. No. 35-1 at 7. However, because SFFA “prohibit[s] the use of an applicant’s race as a

factor in student admissions,” the Board “[a]ccordingly . . . deleted” the Rule. Id. at 5.7

          UT argues that the repeal of the Rule “eliminated the ability of . . . the UT Medical

Schools[] to consider race in admissions.” Dkt. No. 35 at 12. UT reasons that because the

Rule was “the only rule that allowed UT System institutions to consider race in

admissions,” after that authority was repealed, “none of the UT System medical schools




7
    Compare Univ. of Tex. Sys. Regents’ Rules and Regulations, Rule 40304 (July 11, 2023),
    https://utsystem.edu/sites/default/files/offices/board-of-regents/files/historical-regents-rules-
    regulations/RulesComplete7-11-2023.pdf [https://perma.cc/UCR3-4SPG], with Univ. of Tex.
    Sys. Regents’ Rules and Regulations, Rules 40303–40305 (Sept. 18, 2023), https://utsystem.edu/
    sites/default/files/offices/board-of-regents/files/historical-regents-rules-regulations/
    RulesComplete9-18-2023.pdf [https://perma.cc/GP3E-W52S].


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may lawfully consider race as a factor in the admissions process going forward.” Dkt. No.

50 at 5. In response, the plaintiff points out that “[t]he Board of Regents has not adopted a

rule that bans consideration of race, or that forbids application forms to ask about a

student’s race.” Dkt. No. 44 at 4. He also notes that “the UT defendants have not

produced affidavits or evidence showing that each of the UT medical schools will stop

considering or using race in student admissions.” Id. at 4–5. Indeed, only UT Galveston

has produced an affidavit stating that “race is not a consideration for admissions in the 2024

admissions cycle to the medical school or going forward.” Dkt. No. 35-1 at 3.

       Here, it is logical to conclude that the repeal of a rule authorizing the limited use of

race in admissions means that race can no longer be used at all. The minutes reflect the

Board’s understanding that SFFA “prohibit[s] the use of an applicant’s race as a factor in

student admissions,” and the Rule “allowing plans that consider an applicant’s race or

ethnicity” was “[a]ccordingly . . . deleted,” “as necessary to comply” with SFFA. Dkt. No.

35-1 at 5. Thus, it is clear that the Board believed that repealing the Rule would bring UT

into compliance with SFFA by prohibiting the consideration of race. This is comparable to

the state bar association in Boudreaux amending its internal policies to align with new

precedent. See 86 F.4th at 630. Rescinding an organization’s authority to consider race is

also similar to a military branch rescinding a vaccine requirement—the rescission returns to

the baseline of no authorization to consider race and no vaccine requirement. See U.S. Navy

Seals 1–26, 72 F.4th at 672. Further, the Board is the key governing body of the UT system;

its rules are binding on the institutions in that system and have the force of statutory law.

See Tex. Educ. Code Ann. §§ 51.352, 65.11, 65.31; Univ. of Hous. v. Barth, 403 S.W.3d 851,

855 (Tex. 2013). If a UT medical school implemented an affirmative-action policy today, it



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would do so in defiance of its governing body’s understanding of SFFA. Finally, SFFA

remains the law of the land, and there is no indication that the Rule will be reenacted if the

claims against UT are mooted. Thus, there are additional reassurances that the defendants

will not return to their old policies. Cf. Env’t Conservation Org., 529 F.3d at 528 (noting that

due to a consent decree and the actions of third parties, the court “would not be relying

solely on the [defendant’s] assurances that it will not ‘return to [its] old ways’” (second

alteration in original) (quoting United States v. W.T. Grant Co., 345 U.S. 629, 632 (1953))).

       The Court thus finds that the repeal of the Rule makes it sufficiently clear that UT’s

challenged conduct will not resume, even without an express prohibition on the use of race

in admissions. The Fifth Circuit has noted that when the government good-faith

presumption applies and the repeal of a policy has been finalized, a controlling statement of

future intention not to repeat the challenged conduct is not necessary. Abbott II, 58 F.4th at

834, 835 n.7. Both of those factors apply here. UT also points to Regents’ Rule 10701,

which was amended after SFFA and states:

           To the extent provided by applicable law, no person shall be excluded
           from participation in, denied the benefits of, or subject to discrimination
           under, any program or activity sponsored or conducted by the
           University of Texas System or any of the institutions, on the basis of
           race, color, national origin, ethnicity, religion, sex, age, veteran status,
           or disability.

Dkt. No. 35-1 at 4. Admittedly, under prior versions of the rules, UT did allow affirmative-

action programs despite the language of Rule 10701 prohibiting discrimination based on

race. See Univ. of Tex. Sys. Regents’ Rules and Regulations, Rules 10701, 40304 (July 11,

2023), https://perma.cc/UCR3-4SPG. However, SFFA has changed the “applicable law.”

There, the Supreme Court held that “race-based admissions programs in which some

students may obtain preferences on the basis of race alone” use race as a negative and rely


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on impermissible stereotypes, and it concluded that a “student must be treated based on his

or her experiences as an individual—not on the basis of race.” SFFA, 600 U.S. at 218–20,

231. Thus, the combination of the repeal of Rule 40304 and the change in the

understanding of the “applicable law” under Rule 10701 make it sufficiently clear that the

UT defendants cannot discriminate against applicants for admission on the basis of race.

       In addition, although the defendants have the burden to show that the case is moot,

the plaintiff has failed to submit any evidence that there is a live controversy. He argues that

“[i]t remains possible for UT institutions to continue using racial preferences despite the

repeal of Regents’ Rule 4030[4], just as they used racial preferences before the rule existed.”

Dkt. No. 44 at 4. This suggests that the Rule was not in fact the only authorization for

affirmative-action policies. However, because the UT defendants are entitled to a

presumption of good faith, mere speculation about whether they will still consider race is

“insufficient to satisfy the voluntary-cessation exception.” Abbott II, 58 F.4th at 834. And

the allegations that UT considered race in the past and under a different legal framework do

not create a reasonable inference that it continues to do so now, given the change in binding

Supreme Court precedent regarding the consideration of race in admissions and in the face

of UT’s evidence otherwise. See Env’t Conservation Org., 529 F.3d at 529 (declining to draw

an inference that the alleged violations would continue absent “a poor ‘track record for

complying with [state agency] compliance orders’” (alteration in original) (quotation

omitted)). If it is later discovered that the UT defendants have returned to their old ways,

the plaintiff may file a suit seeking relief at that time. But at this time, the plaintiff’s

concerns are too speculative.




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          In conclusion, several factors point towards mootness here. First, this does not

appear to be the kind of voluntary policy change that the voluntary-cessation doctrine

targets. The repeal of the Rule was done to comply with the law after SFFA—not so the

defendants could moot out this case and then resume their old policies. There is no

indication of litigation posturing or gamesmanship. See U.S. Navy Seals 1–26, 72 F.4th at

674–75. Second, the Court need not rely only on mere arguments in briefing because the

Board has formalized its policy change by rescinding the Rule. Third, the plaintiff has not

presented any evidence that the UT defendants are still considering race in admissions.

          Thus, the Court finds that UT has made it sufficiently clear that its affirmative-action

policies will not recur. The plaintiff’s race-discrimination claims for prospective declaratory

and injunctive relief against the UT defendants are dismissed without prejudice under Rule

12(b)(1).8 However, his race-discrimination claims for damages against the institutional UT

defendants and his sex-discrimination claims for all relief against all UT defendants survive

at this point. See Dkt. Nos. 1 ¶¶ 60–86; 44 at 7.

                  ii.     The plaintiff has established his standing for his remaining race-
                          based claims, but not his sex-based claims.

          Next, the Court finds that the plaintiff’s factual allegations demonstrate each element

of standing for his surviving race-based claims, but not for his sex-based claims. The

doctrine of standing is “an essential and unchanging part” of the Article III case-or-

controversy requirement. Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992); U.S. Const. art.




8
    The “general rule of mootness . . . is that a class action becomes moot when the putative
    representative plaintiff’s claim has been rendered moot before a class is certified.” Fontenot, 777
    F.3d at 748. The plaintiff only seeks “final injunctive relief or corresponding declaratory relief” for
    the class. Dkt. No. 1 ¶ 59; see Fed. R. Civ. P. 23(b)(2). Thus, class relief against UT is moot.
    However, class relief may be available against Tech.


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III, § 2. Thus, to establish the Court’s jurisdiction, “[t]he plaintiff must have (1) suffered an

injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578

U.S. 330, 338 (2016). The plaintiff “bears the burden of establishing standing as of the time

he brought this lawsuit.” Carney v. Adams, 592 U.S. 53, 59 (2020). Accordingly, “at the

pleading stage, the plaintiff must ‘clearly . . . allege facts demonstrating’ each element.”

Spokeo, Inc., 578 U.S. at 338 (quoting Warth v. Seldin, 422 U.S. 490, 518 (1975)). And

because “standing is not dispensed in gross,” plaintiffs must also “demonstrate standing for

each claim that they press and for each form of relief that they seek.” TransUnion LLC v.

Ramirez, 594 U.S. 413, 431 (2021). When analyzing standing, “a federal court must assume

arguendo the merits of [the plaintiff’s] legal claim.” N. Cypress Med. Ctr. Operating Co. v. Cigna

Healthcare, 781 F.3d 182, 191 (5th Cir. 2015) (quoting Cole v. Gen. Motors Corp., 484 F.3d

717, 723 (5th Cir. 2007)); FEC v. Cruz, 596 U.S. 289, 298 (2022).

       “First, the plaintiff must have suffered an injury in fact—an invasion of a legally

protected interest which is (a) concrete and particularized and (b) actual or imminent, not

conjectural or hypothetical.” Lujan, 504 U.S. at 560 (cleaned up) (quoting Whitmore v.

Arkansas, 495 U.S. 149, 155 (1990)). Second, “the injury has to be fairly traceable to the

challenged action of the defendant, and not the result of the independent action of some

third party not before the court.” Id. (cleaned up) (quoting Simon v. E. Ky. Welfare Rts. Org.,

426 U.S. 26, 41–42 (1976)). And third, “it must be likely, as opposed to merely speculative,

that the injury will be redressed by a favorable decision.” Id. at 561 (cleaned up) (quoting

Simon, 426 U.S. at 38). “At the pleading stage, general factual allegations of injury resulting

from the defendant’s conduct may suffice, for on a motion to dismiss [the court] ‘presum[es]



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that general allegations embrace those specific facts that are necessary to support the

claim.’” Id. (quoting Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 889 (1990)); see also Hotze v.

Burwell, 784 F.3d 984, 992 (5th Cir. 2015). Thus, a court should not “dismiss for lack of

standing if [it] reasonably can infer from the plaintiff[’s] general allegations that [he] has

suffered an injury-in-fact.” Hotze, 784 F.3d at 992. However, “standing is not created by a

declaration in court pleadings,” so the plaintiff still must clearly allege facts demonstrating

his standing. Id. at 992–93 (quoting Nat’l Fed’n of the Blind of Tex., Inc. v. Abbott, 647 F.3d

202, 209 (5th Cir. 2011).

       Here, the plaintiff has alleged that the defendants “provid[ed] admissions preferences

to female, black, and Hispanic applicants.” Dkt. No. 1 ¶ 48. He alleges that they did so by

“allow[ing] applicants with inferior academic credentials to obtain admission at the expense

of rejected candidates with better academic credentials.” Id. ¶ 33. He alleges that, based on

the schools’ own admissions data, “over 450 lesser qualified minority students, ranging as

low as a GPA of 2.82 or an MCAT of 495, were offered admission,” while he was denied

admission with a 3.96 GPA and a 511 MCAT score. Id. ¶¶ 36–37. Next, the plaintiff

alleges that these “race and sex preferences that the defendants have established and enforce

prevent [him] from competing on equal terms with other applicants for admission to these

medical schools because [he] is a white male.” Id. ¶ 51. Finally, he alleges that he “intends

to reapply to each of the six defendant medical schools” and “stands ‘able and ready’ to do

so.” Id. ¶ 50.

       Although these are admittedly general allegations of injury, at the pleading stage,

they are sufficient for standing on the plaintiff’s race-based claims. See Lujan, 504 U.S. at

561. Contrary to Tech’s assertion otherwise, these particular allegations are factual



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allegations, not legal conclusions. See Dkt. No. 49 at 4. Whether the defendants gave

admissions preferences to female, black, and Hispanic applicants—i.e., preferred to admit

certain applicants over others based on those applicants’ race or sex—is an issue of fact.

And, as discussed below,9 the plaintiff has plausibly alleged that the defendants used race-

based preferences because his alleged statistics raise a reasonable inference that the schools

held applicants to different academic standards based on their race. See infra Section

2.B.iii.a.

          Indeed, the Fifth Circuit has recently confirmed that such allegations are sufficient to

establish standing. See Students for Fair Admissions, Inc. v. Univ. of Tex. at Austin, 37 F.4th

1078, 1086 (5th Cir. 2022). The court observed that the key for injury-in-fact in this context

is “whether [the plaintiff] has adequately alleged that [the school’s] race-conscious policy

puts [white applicants] on unequal footing with other applicants based on race.” Id. The

plaintiff has done so here. His alleged injury is that he was “denied the ‘opportunity to

compete for admission on an equal basis’”—not his denial from the medical schools, as

Tech claims. See id. (quoting Gratz, 539 U.S. at 262); Dkt. Nos. 1 ¶¶ 50–51; 33 at 9, 14.

And as alleged, the plaintiff has already suffered this unequal treatment when he applied to

the medical schools, and he will suffer it in the future if he reapplies under these policies,

thus establishing standing on his race-based claims for damages against Tech and UT and



9
    The Supreme Court has noted that if “a plaintiff fails to plausibly allege an element that is both a
    merit element of a claim and a jurisdictional element, the district court may dismiss the claim
    under Rule 12(b)(1) or Rule 12(b)(6). Or both.” Brownback v. King, 592 U.S. 209, 218 n.8 (2021).
    Accordingly, to the extent that Tech’s standing arguments and UT’s Ex parte Young arguments
    actually challenge the plausibility and sufficiency of the plaintiff’s factual allegations under Rule
    12(b)(6), see Dkt. Nos. 33 at 9–14; 35 at 18; 50 at 9, the Court addresses them as such. See also
    Williamson, 645 F.2d at 415 (noting that courts generally “refus[e] to treat indirect attacks on the
    merits as Rule 12(b)(1) motions,” because “no purpose is served by indirectly arguing the merits in
    the context of federal jurisdiction”).


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for prospective relief against Tech. Dkt. No. 1 ¶¶ 36, 50–51; see Univ. of Tex., 37 F.4th at

1086.

           The same is not true for his allegations of sex-based admissions preferences,

however. As detailed below, the plaintiff’s allegations reflect only small differences in

academic qualifications between the two sexes, which do not create a reasonable inference

that men and women were held to different standards in the admissions process. See infra

Section 2.B.iii.b. Because the plaintiff has failed to sufficiently allege that he was treated

unequally because of his sex, he has failed to allege an injury-in-fact and lacks standing for

his sex-discrimination claims.

           Once injury-in-fact is established as to the plaintiff’s race-based claims, the remaining

elements of standing fall into place. Cf. Ne. Fla. Chapter of Associated Gen. Contractors of Am. v.

City of Jacksonville, 508 U.S. 656, 666 n.5 (1993). For traceability, the plaintiff has alleged

that his injury—unequal treatment based on his race—was caused by the defendants’

challenged action—giving admissions preferences to some applicants based on race. See

Dkt. No. 1 ¶¶ 51–52; Lujan, 504 U.S. at 560. This injury also appears to be “fairly

traceable” to the defendants named.10 The plaintiff has sued the president, dean, and

admissions directors or deans at each medical school in their official capacities. See Dkt.

No. 1 ¶¶ 4–32. While the plaintiff does not clearly allege what role those officials play in



10
      For the same reason, the Court rejects UT’s argument that the individual defendants are not the
     proper defendants under Ex parte Young. See Dkt. No. 35 at 16, 18. “Under Ex parte Young, the
     officers who are sued must have ‘some connection with the enforcement’ of the challenged law or
     policy.” Jackson v. Wright, 82 F.4th 362, 367 (5th Cir. 2023) (quoting Ex parte Young, 209 U.S. 123,
     157 (1908)). This requires at least a “scintilla of ‘enforcement,’” and “a supervisory role over the
     individuals who were allegedly violating constitutional rights” will suffice. Id. at 367–68
     (quotation omitted). It is a reasonable inference that the president, dean, and chief admissions
     officials at a medical school would have some enforcement of the admissions policies and a
     supervisory role over individual admissions officers.


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setting admissions policies, the Court reasonably infers based on their titles that those

officials have some authority or control over the admissions policies.

       Similarly, for redressability, the plaintiff has alleged that the injury of unequal

treatment based on race “will be redressed by a declaratory judgment and injunction that

bars the defendants from considering or discriminating on account of race . . . when

admitting students to the medical schools.” Dkt. No. 1 ¶¶ 51–52. The logic here is

obvious—unequal treatment under a certain policy is redressed by equitable relief directing

the defendants to discontinue that policy. See Ne. Fla. Chapter, 508 U.S. at 666 n.5. And his

past injury is redressable by nominal or compensatory damages. Uzuegbunam v. Preczewski,

141 S. Ct. 792, 802 (2021); see Dkt. No. 1 ¶ 86. The plaintiff does not have to allege that he

was denied admission specifically because of his race or that removing the preferences

would result in his admission. See Dkt. No. 33 at 9, 14. Instead, he need only allege that he

was unable to compete on a level playing field and that relief from this Court could level

that field and compensate him. He has done so here.

       In sum, the Court finds that the plaintiff has sufficiently alleged an injury of unequal

treatment based on his race that is traceable to the defendants’ admissions preferences and

redressable by damages and by an injunction prohibiting the defendants from considering

race. Thus, the plaintiff has sufficiently pled all three elements of standing for his remaining

race-based claims. However, as discussed in detail below, the plaintiff has not plausibly

alleged unequal treatment based on his sex, so he has failed to establish his standing as to

his sex-based claims.




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                   iii.   The plaintiff has plausibly alleged race-discrimination claims, but he
                          has not plausibly alleged sex-discrimination claims.

           Next, the Court finds that the plaintiff has plausibly alleged facts that state a claim

upon which relief may be granted as to his race-discrimination claims. His factual

allegations that the defendant medical schools gave admissions preferences to black and

Hispanic applicants are made plausible by his cited statistics. However, the Court finds that

the plaintiff has not sufficiently alleged that the defendants gave admissions preferences

based on sex, and it dismisses his Title IX claim and his sex-based Equal Protection claim.

                          a.      The plaintiff’s factual allegations make his claim of
                                  intentional race discrimination plausible.

           The Court concludes that the plaintiff’s factual allegations state a claim of racial

discrimination. To state a claim under Title VI, Section 1981, and the Equal Protection

Clause, a plaintiff must allege intentional discrimination based on race. See Alexander v.

Sandoval, 532 U.S. 275, 280–81 (2001) (Title VI); Gen. Bldg. Contractors Ass’n v. Pennsylvania,

458 U.S. 375, 391 (1982) (Section 1981); Vill. of Arlington Heights v. Metro Hous. Dev., 429

U.S. 252, 265 (1977) (Equal Protection Clause).11 Tech and UT both argue that the plaintiff

has failed to do so. Tech argues that the disparity in MCAT scores does not create an

inference that Tech considered race or sex in admissions at all. Dkt. No. 33 at 9–16. And

UT argues that the plaintiff’s statistics do not plausibly show that the discrimination was

intentional. Dkt. No. 35 at 19–21. For the reasons stated below, the Court disagrees as to

the race-discrimination claims.




11
     The Supreme Court has also held that intentional discrimination that violates the Equal Protection
     Clause also violates Title VI and Section 1981. Gratz, 539 U.S. at 276 n.23; see also SFFA, 600 U.S.
     at 198 n.2.


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           The plaintiff has pled enough facts to make it plausible that the defendants used race-

based admissions preferences, thus stating a race-discrimination claim. Again, he alleges

that the defendants’ discriminatory preferences consist of allowing non-Asian minorities to

be admitted with lower academic credentials. Dkt. No. 1 ¶ 33. Specifically, the plaintiff

cites “data reveal[ing] that the median and mean grade-point averages and MCAT scores of

admitted black and Hispanic students are significantly lower than the grade-point averages

and MCAT scores of admitted white and Asian students.” Id. ¶ 38. At Texas Tech, he

alleges, “blacks and Hispanics are admitted with much lower MCAT scores than whites or

Asians.” Id. ¶ 41. And he alleges that he applied to the defendant medical schools and was

rejected, “while over 450 lesser qualified minority students, ranging as low as a GPA of 2.82

or an MCAT of 495, were offered admission.” Id. ¶ 36. In other words, he claims that

black and Hispanic applicants were held to different academic standards than white and

Asian applicants.

           The statistics and facts alleged in the complaint bear this out. For example, the

plaintiff provides the following graph of MCAT scores of students admitted to Tech’s

medical school, divided by race12:




12
      The boxes represent the inner-quartile range (25th to 75th percentiles), and the solid black line
     represents the median. Dkt. No. 1 ¶ 39.


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Id. ¶ 41.

           At Tech, the median MCAT score for admitted black students was approximately

506. Id. In contrast, the median score for admitted white students was approximately 512,

and for admitted Asian students, it was approximately 514. Id. This is a 6- to 8-point

difference.13 Further, the 75th percentile score for admitted black and Hispanic students was

the same as or only about a point above the 25th percentile score for admitted Asian

students. Id. The 75th percentile score for black and Hispanic students was also about a

point lower than the median score for admitted white students. Id. Thus, at Tech, almost

75% of admitted Asian students and 50% of admitted white students had higher MCAT




13
      The Court takes judicial notice that the Association of American Medical Colleges, which
     administers the MCAT, reports that, under the percentile ranks in effect from May 2021 to April
     2022, a score of 506 was in the 65th percentile of scores, a score of 512 was in the 84th percentile,
     and a score of 514 was in the 88th percentile. Summary of MCAT Total and Section Scores, Ass’n of
     Am. Med. Colls., https://students-residents.aamc.org/media/11881/download
     [https://perma.cc/V3VD-ZUXF].


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scores than 75% of admitted black and Hispanic students. Id. And nearly 50% of admitted

Asian students had higher MCAT scores than all admitted black students. See id.

       Under the applicable standard of review, these statistics make it plausible that at least

some black and Hispanic applicants were held to lower academic standards and were

admitted despite their lower MCAT scores based on their race. It also makes it plausible

that, conversely, white and Asian applicants had to meet higher academic standards to be

admitted. For example, the plaintiff’s MCAT score of 511 falls above the 75th percentile for

admitted black students at Tech, but it was only around the median for admitted white

students, and the plaintiff was rejected. See id. ¶¶ 36, 41. This permits a reasonable

inference that if the plaintiff had been black or Hispanic, he likely would have received a

more favorable consideration.

       The gaps in median MCAT scores for admitted black and Hispanic students versus

white and Asian students is present at the UT medical schools, too. See generally id. ¶¶ 39,

42, 44, 46, 47. In addition, the 75th percentile score for admitted black students is about the

same as or several points below the 25th percentile score for admitted white and Asian

students at all of the UT medical schools. Id. Finally, the plaintiff alleges that there is “a

statistically significant relationship between a positive admissions decision and an

applicant’s status” as black or Hispanic at UT Austin, Houston, and Galveston. Id. ¶¶ 40,

42, 45. At the motion-to-dismiss stage, these statistics allow a reasonable inference that

blacks and Hispanics were afforded admissions preferences that allowed them to be

admitted to the defendant medical schools despite their lower credentials because of their

race. It also allows a reasonable inference that, because of these preferences, whites and




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Asians had to meet a higher academic standard to be admitted—several MCAT points

higher.

           This inference is reasonable despite the potential influence of other admissions

factors. Tech points out that under the Texas Education Code, graduate schools may

consider many non-academic factors, and a medical school “may not make an admission

decision based simply on an applicant’s MCAT score.” Dkt. No. 33 at 12 (emphasis in

original) (citing Tex. Educ. Code Ann. § 51.842(b)).14 Thus, Tech argues that it must

consider other factors and cannot simply admit the highest MCAT scorers, so the scores are

distributed. Id. at 14. It is true that “statistical data cannot meet [the Rule 8(a)] pleading

requirements if, among other possible issues, it is also consistent with a legal and obvious

alternative explanation.” United States ex rel. Integra Med Analytics, L.L.C. v. Baylor Scott &

White Health, 816 F. App’x 892, 898 (5th Cir. 2020).

           But the plaintiff alleges that admitted black and Hispanic students also had

significantly lower GPAs than admitted white and Asian students. Dkt. No. 1 ¶ 38. The

fact that these minority applicants are admitted despite having much lower MCATs and

much lower GPAs makes it plausible that they are receiving preferential treatment, while

whites and Asians are being held to higher academic standards. In addition, it seems

unlikely that non-academic factors would make up for such a large gap in scores between

the racial groups. Again, 75% of black students were admitted to Tech with scores lower

than 75% of Asians and about 50% of whites. See id. ¶ 41. Thus, the Court concludes the




14
      When considering a Rule 12(b)(6) motion, the Court may consider matters of which it may take
     judicial notice, such as Texas law. Innova Hosp., 892 F.3d at 726; United States v. White, 258 F.3d
     374, 382 n.9 (5th Cir. 2001).


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plaintiff’s alleged statistics are not consistent with an alternative explanation of non-

academic factors, and they instead point to the plausibility of his race-discrimination claim.

       Moreover, the plaintiff’s allegations regarding racial discrimination have sufficiently

stated a claim of intentional discrimination. UT argues that the plaintiff has not plausibly

alleged intentional discrimination based on race, claiming that he has not “allege[d] any

facts about whether the UT Defendants adopted a policy or took any action because of its

effects on identifiable groups.” Dkt. Nos. 50 at 9 (emphasis in original); 35 at 19.

       However, the plaintiff has alleged that “the defendants have established and enforce”

racial preferences in admissions. Dkt. No. 1 ¶ 51. This creates a reasonable inference that

the preferences were intentional. And these preferences consist of allowing black and

Hispanic “applicants with inferior academic credentials to obtain admission at the expense

of rejected [white and Asian] candidates with better academic credentials.” Id. ¶ 33. In

other words, the plaintiff has alleged that the medical schools intentionally put into place

and upheld admissions practices that make it easier for certain applicants to be admitted if

they were black or Hispanic, but do not give whites or Asians the same preferences. See id.

¶¶ 48, 51. The only logical inference is that the defendants used these practices because of

their effects on black and Hispanic applicants. And in a “zero-sum” admissions system, “[a]

benefit provided to some applicants but not to others necessarily advantages the former

group at the expense of the latter.” SFFA, 600 U.S. at 218–19. Thus, the Court finds that

the plaintiff has plausibly alleged that the defendant medical schools and administrators

have intentionally treated some groups worse than others based on race. See id.; id. at 294

(Gorsuch, J., concurring). This is sufficient for a claim of intentional discrimination.




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       Accordingly, the Court concludes that the plaintiff has plausibly alleged a claim of

intentional race discrimination. His factual allegations are sufficient to state a plausible

claim to relief.

                      b.     The plaintiff has not plausibly alleged a claim of sex
                             discrimination.

       The Court finds that the plaintiff has not plausibly alleged that the defendants

discriminated based on sex in admissions. Like the race-discrimination statutes, claims

under Title IX and the Equal Protection Clause require an allegation of intentional

discrimination based on sex. See Poloceno v. Dall. Indep. Sch. Dist., 826 F. App’x 359, 362

(5th Cir. 2020); Cook v. Hopkins, 795 F. App’x 906, 916 (5th Cir. 2019). But the plaintiff’s

factual allegations regarding sex do not create an inference of unequal treatment.

       The plaintiff’s statistics reveal that there is a much smaller difference between the

MCAT scores of admitted men and admitted women. See id. ¶¶ 41, 43, 44, 46, 47. As UT

points out, the graphs reveal scores “near parity.” Dkt. No. 35 at 19. For Tech and most of

the UT schools, there are only 1- to 2-point gaps between the median MCAT scores of

admitted men and women. See Dkt. No. 1 ¶¶ 41, 43, 44, 47. For example, the chart for

Tech only shows about a 2- or 3-point shift in the distribution of men’s and women’s scores:




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Id. ¶ 41. The largest gap between the median score for men and women, at UT San

Antonio, is about 3 points:




Id. ¶ 46. And at UT Southwestern, the distribution of men’s and women’s scores are nearly

identical:




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Id. ¶ 47.

        These gaps, unlike the gaps between the different races, are much easier to explain by

a difference in MCAT scores between men and women in the pool of applicants or by non-

academic factors. The plaintiff does allege that, at two schools, there is a statistically

significant relationship between being female and a positive admissions decision. Id. ¶¶ 40,

45. However, he has not alleged that women also had significantly lower GPAs than men.

Cf. id. ¶ 38. Based on the near parity in MCAT scores between the two sexes and the lack of

other allegations supporting an inference that admitted women were much less academically

qualified than admitted men, the Court finds that the plaintiff has only alleged the

possibility of sex discrimination.

        Because these allegations do not clear the plausibility threshold, the plaintiff has both

failed to establish his standing and failed to state a claim under Title IX or a sex-based claim

under the Equal Protection Clause, and those claims are dismissed as to all defendants. See

Brownback, 592 U.S. at 218 n.8. In addition, because the plaintiff has not adequately alleged


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sex-based discrimination and his race-based claims for prospective relief against UT are

moot, he has not alleged “an ongoing violation of federal law” as is required for a claim for

prospective relief under Ex parte Young. Freedom From Religion Found. v. Mack, 4 F.4th 306,

311–12 (5th Cir. 2021). Thus, the individual UT defendants retain their Eleventh

Amendment immunity as to that claim. Since the plaintiff “is asserting only Ex parte Young

claims for prospective relief against the individual defendants,” see Dkt. No. 44 at 7, and the

prospective relief claims against the individual UT defendants are barred by mootness and

immunity, the individual UT defendants are dismissed.

              iv.     The Court grants the plaintiff leave to amend his complaint.

       In sum, the plaintiff’s race-based claims for prospective relief against UT are

dismissed as moot, and his sex-based claims against all defendants are dismissed for lack of

standing and failure to state a claim. However, his race-based claims for damages against

the institutional UT defendants and for damages and injunctive relief against all Tech

defendants survive.

       Nevertheless, the Court notes that there is a strong policy in favor of granting leave

to amend. See Great Plains Tr. Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305, 329

(5th Cir. 2002). Thus, district courts often allow plaintiffs at least one opportunity to cure

pleading deficiencies before dismissing a case, unless the amendment would be futile. See id.

Further, dismissals on jurisdictional grounds, such mootness, are without prejudice. Ass’n of

Am. Physicians & Surgeons Educ. Found. v. Am. Bd. of Internal Med., 103 F.4th 383, 396 (5th

Cir. 2024). The plaintiff has not previously been given an opportunity to amend. And the

Court finds that an amendment would not be futile here. The plaintiff has had the

opportunity to conduct discovery and thus may be able to allege new facts that demonstrate




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a live controversy as to the race-based prospective-relief claims or the existence of sex-based

admissions preferences. Thus, the Court dismisses the aforementioned claims without

prejudice and grants the plaintiff 14 days from the date of this Order to file a first amended

complaint should he choose to do so.

3.     Motion to Sever and Transfer

       Next, the Court finds that the UT defendants have been misjoined with the Tech

defendants under Rule 20, because the plaintiff’s claims against them do not arise out of the

same series of transactions or occurrences. As a result, venue is no longer proper in this

division for the claims against UT, and Austin is the most convenient venue for the parties.

Accordingly, the remaining claims against UT are severed from the claims against Tech and

transferred to the Western District of Texas, Austin Division.

       A.      Standards of Review

               i.      Misjoinder and Motion to Sever

       Under Federal Rule of Civil Procedure 20, multiple defendants may be joined in one

action if “(A) any right to relief is asserted against them jointly, severally, or in the

alternative with respect to or arising out of the same transaction, occurrence, or series of

transactions or occurrences; and (B) any question of law or fact common to all defendants

will arise in the action.” Fed. R. Civ. P. 20(a)(2). “Generally, as long as both prongs of the

test are met, ‘permissive joinder . . . is at the option of the plaintiffs.’” Acevedo v. Allsup’s

Convenience Stores, Inc., 600 F.3d 516, 521 (5th Cir. 2010) (quoting Applewhite v. Reichhold

Chems., Inc., 67 F3d 571, 574 (5th Cir. 1995)). The Supreme Court has noted that “[u]nder

the [r]ules, the impulse is towards entertaining the broadest possible scope of action

consistent with fairness to the parties; joinder of claims, parties[,] and remedies is strongly

encouraged.” United Mine Workers v. Gibbs, 383 U.S. 715, 724 (1966).


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       “Misjoinder of parties is not a ground for dismissing an action.” Fed. R. Civ. P. 21.

Under Rule 21, “[o]n motion or on its own, the court may at any time, on just terms, add or

drop a party.” Id. “The court may also sever any claim against a party.” Id. Thus, “[i]f a

party does not meet both prongs of Rule 20,” courts apply Rule 21 to remedy the

misjoinder. Vance v. Safety-Kleen Sys., Inc., No. 3:21-CV-2171-B, 2022 WL 22352487, at *2

(N.D. Tex. Oct. 7, 2022).

       A Rule 21 severance “creates two separate actions or suits where previously there

was but one. Where a single claim is severed out of a suit, it proceeds as a discrete,

independent action . . . .” United States v. O’Neil, 709 F.2d 361, 368 (5th Cir. 1983). “The

party seeking severance under Rule 21 . . . bears the burden of proving that such action is

necessary.” Aspen Tech., Inc. v. Kunt, No. 4:10-cv-1127, 2011 WL 86556, at *3 (S.D. Tex.

Jan. 10, 2011).

               ii.     Motion to Transfer

       Venue for a civil action is proper in “(1) a judicial district in which any defendant

resides, if all defendants are residents of the State in which the district is located; [or] (2) a

judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred.” 28 U.S.C. § 1391(b)(1)–(2). Even if venue is proper, under 28 U.S.C. § 1404(a),

“[f]or the convenience of parties and witnesses, in the interest of justice, a district court may

transfer any civil action to any other district or division where it might have been brought.”

Id. § 1404(a). Because the plaintiff’s choice of venue is entitled to “appropriate deference,”

the movant must show good cause for the transfer by showing that the transferee venue is

“clearly more convenient.” In re Volkswagen of Am., Inc. (Volkswagen II), 545 F.3d 304, 315




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(5th Cir. 2008) (en banc). Courts in the Fifth Circuit consider several private and public

interest factors to determine whether a Section 1404(a) venue transfer is appropriate:

           The private interest factors are: “(1) the relative ease of access to sources
           of proof; (2) the availability of compulsory process to secure the
           attendance of witnesses; (3) the cost of attendance for willing witnesses;
           and (4) all other practical problems that make trial of a case easy,
           expeditious and inexpensive.” The public interest factors are: “(1) the
           administrative difficulties flowing from court congestion; (2) the local
           interest in having localized interests decided at home; (3) the familiarity
           of the forum with the law that will govern the case; and (4) the
           avoidance of unnecessary problems of conflict of laws [or in] the
           application of foreign law.”

Id. (alteration in original) (internal citation omitted) (quoting In re Volkswagen AG

(Volkswagen I), 371 F.3d 201, 203 (5th Cir. 2004)). These factors are not exhaustive or

exclusive, and no factor is given dispositive weight. Id.

       If venue is improper, “[t]he district court of a district in which is filed a case laying

venue in the wrong division or district shall dismiss, or if it be in the interest of justice,

transfer such case to any district or division in which it could have been brought.” 28

U.S.C. § 1406(a). If venue is proper in multiple districts, district courts in the Fifth Circuit

look to the Section 1404(a) factors to determine which forum is more convenient for

transfer. See CUPP Cybersecurity LLC v. Symantec Corp., No. 3:18-CV-01554-M, 2019 WL

1070869, at *6 (N.D. Tex. Jan. 16, 2019). However, under Section 1406, the party seeking

transfer to a particular venue does not have to show that venue is “clearly more convenient”

than the plaintiff’s chosen venue, because the plaintiff’s choice was improper and thus does

not receive the same deference. See id. at *7.




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       B.      Analysis

               i.     The UT defendants are misjoined with the Tech defendants under
                      Rule 20(a)(2) and must be severed.

       The Court concludes that Tech and UT are misjoined because the plaintiff’s claims

against them do not arise out of the same “series of transactions or occurrences.” See Fed.

R. Civ. P. 20(a)(2). Thus, the claims against UT are severed.

       Again, to be properly joined as defendants, the plaintiff’s claims against Tech and

UT must “aris[e] out of the same transaction, occurrence, or series of transactions or

occurrences,” and there must be at least one “question of law or fact common to all

defendants.” Fed. R. Civ. P. 20(a)(2); see Acevedo, 600 F.3d at 521. Courts in the Fifth

Circuit have generally held that claims “alleg[ing] the same constitutional violations” or

violations of the same statute present common questions of law. See Battison v. City of

Electra, No. 7:01-CV-037-R, 2001 WL 497769, at *2 (N.D. Tex. May 8, 2001); Askew v.

Raytheon Co., No. 3:13-CV-4220-G, 2014 WL 1567916, at *8 (N.D. Tex. Apr. 17, 2014).

Thus, the plaintiff argues that his claims against each defendant involve the common

question of law of “[w]hether (and to what extent) race and sex preferences in student

admissions are permissible under federal anti-discrimination law.” Dkt. No. 45 at 7.

Because the plaintiff alleges that each school’s use of affirmative-action programs violates

Title VI, Section 1981, and the Equal Protection Clause, see Dkt. No. 1 ¶¶ 60, 71, 78–80, the

Court concludes that his claims present common questions of law and turns to the first

prong of Rule 20(a)(2).

       To determine whether claims arise out of the same transaction, occurrence, or series

of occurrences, “district courts in the Fifth Circuit apply the logical relationship test.”

Vance, 2022 WL 22352487, at *3 (cleaned up) (quoting EMET, LLC v. Johnson Controls, Inc.,



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No. SA-21-CV-00753-JKP-RBF, 2021 WL 4712694, at *5 (W.D. Tex. Oct. 7, 2021)).

Claims have a logical relationship if they “share an aggregate of operative facts,” id.

(quoting N.Y. Life Ins. Co. v. Deshotel, 142 F.3d 873, 882 (5th Cir. 1998)), or “some nucleus of

operative facts or law,” Hanley v. First Invs. Corp., 151 F.R.D. 76, 79 (E.D. Tex. 1993). In

addition, “[w]here a claim is based on a pattern or practice of conduct, such conduct can

constitute the ‘series of transactions or occurrences’ required by Rule 20(a).” Battison, 2001

WL 497769, at *2.

       However, “generally, it has been held that joinder will not be allowed based solely on

the assertion that the defendants committed the same type of violations in the same way.” 7

Wright & Miller, Federal Practice and Procedure § 1653 (3d ed. June 2024). For example,

under this principle, a district court in the Fifth Circuit has held that claims of copyright

infringement brought against many individual defendants who used a program to

simultaneously view and share the same file with other users are misjoined. See, e.g., LFP

Internet Grp. LLC v. Does 1–3,120, No. 3:10-cv-2095-F, 2011 WL 13253894, at *2 (N.D. Tex.

Feb. 10, 2011). And another court has held that a prisoner who complained of the same

medical condition at multiple facilities and received the same response could not join his

claims against those institutions. Wilson v. Grimes, No. 15-00680-JJB-RLB, 2017 WL

2371784, at *4–5 (M.D. La. May 31, 2017). Courts have refused to “join defendants who

simply engaged in similar types of behavior, but who are otherwise unrelated,” absent

“some allegation of concerted action,” a “common policy,” or a “conspiracy.” United States

ex rel. Grynberg v. Alaskan Pipeline Co., No. Civ. 95-725(TFH), 1997 WL 33763820, at *1–2

(D.D.C. Mar. 27, 1997); see also LFP Internet Grp., LLC, 2011 WL 13253894, at *1–2.




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       Other district courts have severed claims against different universities when a

plaintiff merely alleges that each discriminated against him in a similar way. In Spaeth v.

Michigan State University College of Law, the plaintiff sued six law schools and various officers

alleging that they violated the Age Discrimination in Employment Act. 845 F. Supp. 2d 48,

50 (D.D.C. 2012). He alleged that he applied for teaching positions at each school, but that

each school made offers to candidates who were younger and less qualified than him. Id. at

51–52. Four of the schools moved for severance and transfer, arguing that they had been

misjoined. Id. at 50–51. The district court agreed. Id. at 52–53. Applying the logical

relationship test, the court found that the complaint indicated that the defendants had acted

independently and that the plaintiff had not alleged any concerted action, conspiracy, or

shared policy between the defendants. Id. at 53–54. Nor did the fact that the defendants

were “members of a common industry” suffice to create a series of transactions or

occurrences. Id. at 54 (quoting Wynn v. Nat’l Broad. Co., 234 F. Supp. 2d 1067, 1078 (C.D.

Cal. 2002)). Thus, the court concluded that “other than ‘the fact that [the plaintiff’s] claims

all arise under’ the ADEA, [the plaintiff] has ‘offered nothing to suggest that the claims are

logically related in any way.’” Id. at 53 (quoting Davidson v. District of Columbia, 736 F.

Supp. 2d 115, 121 (D.D.C. 2010)).

       Like the plaintiff’s claims in Spaeth, the plaintiff’s claims against UT and Tech are

not logically related and are thus misjoined. Each medical school has a different admissions

policy, and the plaintiff has not alleged a common practice or policy applying to both

groups of defendants. Accordingly, for the following reasons, the claims against UT are

severed from the claims against Tech.




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       First, the plaintiff’s claims against UT and Tech do not share a nucleus of operative

facts. Similar to the plaintiff in Spaeth, the plaintiff has alleged that he applied to each

defendant medical school and that each discriminated against him by giving admissions

preferences to less-qualified minority applicants. Dkt. No. 1 ¶¶ 33, 36, 48. However, this is

effectively an assertion that each school “committed the same type of violations”—

discrimination based on race—“in the same way”—by giving admissions preferences. See

Wright & Miller, supra, § 1653. This is insufficient to show that the admissions decisions

were a series of transactions or occurrences.

       Instead, the operative facts of the plaintiff’s claims will likely be specific to each

school—each school’s admissions policies, how each school and/or officer considered race,

and what kind of preferences they gave to minority applicants. As UT argues, the plaintiff’s

“allegations recognize that each institution has its own admissions policy,” such as the

complaint’s discussion and attachment of the “Admissions Policies & Procedures” at UT

Galveston. Dkt. No. 36 at 12; see Dkt. Nos. 1 ¶ 49; 1-2. There is no indication that any

schools had the same policies, weighed race in the same way, or gave the same admissions

preferences. See Dkt. No. 1 ¶¶ 39, 41, 42, 44, 46, 47 (reflecting different disparities between

the races at the different schools). And as a result, the plaintiff’s claims against each

medical school “w[ill] require a factual inquiry into each defendant’s separate admissions

process” and different evidence. See Dkt. No. 36 at 10, 12. Thus, the Court concludes that

the plaintiff’s claims against Tech and his claims against the UT schools are not based on

the same nucleus of operative facts and lack a logical relationship to each other, making

joinder inappropriate.




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       Further, the plaintiff has not alleged a common policy, pattern, or practice that

would give rise to a connection between Tech and UT. The plaintiff argues that because

“all of the defendant medical schools are owned and operated by the state of Texas” and

“[t]he state of Texas is ultimately responsible for the admissions policies at its state

universities,” the schools’ policies reflect a “pattern or practice of discriminatory conduct.”

Dkt. No. 45 at 6–7 (quoting Lott v. Eastman Kodak Co., No. 3:97-CV-2560-P, 1999 WL

242688, at *3 (N.D. Tex. Apr. 16, 1999)). Under this argument, the claims that each state

school discriminated against the plaintiff in the same way—by using race-based admissions

preferences—are logically related because they reflect a common pattern or practice of

discrimination by the state. For example, in United States v. Mississippi, the Supreme Court

held that six county registrars of voters were properly joined as defendants because the

complaint had sufficiently alleged that they “had acted and were continuing to act as part of

a state-wide system designed to enforce the registration laws in a way that would inevitably

deprive colored people of the right to vote solely because of their color.” 380 U.S. 128, 142

(1965). There, the complaint alleged that Mississippi had passed multiple state

constitutional amendments and laws imposing new voter requirements, which were

enforced by registrars against black voters. See id. at 131–35.

       But here, UT argues that the plaintiff has not actually alleged “a ‘state-wide system’

or policy designed to discriminate on the basis of race,” Dkt. No. 51 at 8–9 (quoting

Mississippi, 380 U.S. at 143), and the Court concurs. The plaintiff has not sufficiently

alleged a discriminatory policy or practice by the state that applies to all of the defendants.

Although the plaintiff does allege that “each of the defendant medical schools is providing

admissions preferences to female, black, and Hispanic applicants” but not to “whites,



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Asians, and men,” Dkt. No. 1 ¶ 48, there are no facts or other allegations in the complaint

indicating that this was a broader policy by the state, see generally Dkt. No. 1. Cf. Amie v. City

of Jennings, No. 2:03CV2011, 2005 WL 3007009, at *1 (W.D. La. Nov. 8, 2005) (collecting

cases where plaintiffs made allegations about a policy or practice). Unlike the allegations

against the state government in Mississippi, there is no indication that Texas was enacting,

promulgating, or encouraging policies that were discriminatory or would be enforced in a

discriminatory manner by the state schools. There are also no allegations demonstrating

similarities between Tech’s and the UT schools’ use of racial preferences, which could

provide evidence or an inference of a common pattern or practice. Cf. Askew, 2014 WL

1567916, at *8. Without any allegations or indications of a discriminatory pattern or

practice, the Court declines to construe the complaint so broadly as to find a state-wide

discriminatory pattern.

       Further, the University of Texas and Texas Tech University systems operate

independently and are governed by separate Boards of Regents, which makes it much less

likely that they were subject to the same policies. See Tex. Educ. Code Ann. § 52.352(a)(1)

(noting that the governing boards of institutions of higher education are “expected to

preserve institutional independence”); id. 65.01, 65.11, 65.31 (describing the University of

Texas Board of Regents); id. § 109.001 (describing the Texas Tech Board of Regents). And

as UT points out, the plaintiff does not allege that the UT and Tech defendants

“coordinate[d] regarding admissions decisions,” acted in concert, conspired together against

the plaintiff, used the same decisionmakers, or shared a common policy. Dkt. Nos. 36 at

10–11; 51 at 8; see Grynberg, 1997 WL 33763820, at *1–2; see generally Dkt. No. 1.

Accordingly, the Court concludes that the plaintiff’s claims do not arise out of the same



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series of transactions or occurrences because they are not part of a common pattern,

practice, or policy.

       In contrast, the claims against the UT defendants arise out of the same series of

transactions or occurrences because those defendants share a common governance and were

subject to at least one common policy. The remaining UT defendants, as institutions in the

University of Texas system, are all governed by the University of Texas Board of Regents.

See Tex. Educ. Code Ann. §§ 65.01, 65.02, 65.11. As a result, it is much more likely that the

UT medical schools were governed by common policies or practices, to which Tech was not

subject. Further, UT argues that Regents’ Rule 40304 is a common policy between the UT

schools that did not apply to Tech. See Dkt. Nos. 36 at 10–11; 51 at 7 n.2. The Rule

“authorized” UT institutions to adopt affirmative-action plans that had to be “reviewed and

approved by System Administration’s Office of General Counsel, and by the appropriate

Executive Vice Chancellor, prior to implementation.” Dkt. No. 36-1 at 2. Thus, the Rule

indicates a common policy of allowing affirmative action within the UT system, or a pattern

or practice of alleged discrimination, justifying joinder of the UT defendants. And each

school’s alleged affirmative-action policy would have been approved by at least one

common entity, see id., contributing to a nucleus of operative facts for the plaintiff’s claims

against the UT defendants.

       Finally, although the Court concludes that severing UT from Tech is necessary due

to misjoinder, it also notes that several practical considerations point towards discretionary

severance under Rule 21 as well. Even if parties are properly joined, a court may “refuse

joinder in the interest of avoiding prejudice and delay, ensuring judicial economy, or

safeguarding principles of fundamental fairness.” Acevedo, 600 F.3d at 521 (internal



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citations omitted). For example, courts may deny joinder “when it would not facilitate

judicial economy and when different witnesses and documentary proof would be required

for plaintiffs’ claims.” Id. at 522. When considering severance under Rule 21, courts

consider factors including whether there are common questions of law and fact, judicial

economy, and whether different witnesses and documentary proof are necessary for the

different claims. Def. Distributed v. Bruck, 30 F.4th 414, 431 (5th Cir. 2022). Those factors

weigh against joinder here.

       First, joinder would not promote judicial economy. The surviving claims against

Tech and UT have diverged after the Court’s resolution of the motions to dismiss. See supra

Section 2.B.iv. All of the race-discrimination claims survive against all of the Tech

defendants, but only the race-discrimination claims for damages survive against only the

institutional UT defendants. See id. Thus, if the claims remain joined, the Court would

need to carefully distinguish between the different claims against the different parties

throughout the litigation. Further, the plaintiff seeks class certification and relief. Dkt. No.

1 ¶¶ 53–59. But because the plaintiff’s prospective-relief claims are moot as to UT, class

relief is also moot as to UT. See supra n.8. Fashioning a class and relief as to only Tech

would be much more difficult if Tech remained joined in the same lawsuit with the non-

class-action UT defendants. Second, because Tech and UT operate under different

governance systems and policies and because each school has its own admissions policies,

the issues of fact will diverge during discovery, and the claims against the two groups will

require different witnesses and proof. Accordingly, the Court also finds that severance is

appropriate under several of the Rule 21 factors, especially the interest of judicial economy.




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       In sum, the Court finds that the plaintiff’s surviving claims against Tech and UT do

not arise out of the same series of transactions or occurrences. As a result, the defendants

are misjoined, and the claims against UT are severed from the claims against Tech.

               ii.     The claims against UT are transferred to the Western District of
                       Texas, Austin Division.

       Because the claims against UT are severed from the claims against Tech, the case

against UT must be transferred based on improper venue. And because the Western District

of Texas, Austin Division is most convenient for the parties, the action against UT is

transferred there.

       First, venue for the suit against UT is no longer proper in this district and division.

“Severance under Rule 21 creates two separate actions or suits where previously there was

but one,” so the claims against Tech’s medical school and officers and the claims against

UT’s medical schools now function as separate lawsuits. See O’Neil, 709 F.2d at 368. There

is now one separate suit against the Tech defendants and one separate suit against UT

Austin, UT Houston, UT Galveston, UT San Antonio, and UT Southwestern. However,

the UT defendants do not reside in the Lubbock Division, and none of the events giving rise

to the suit against them occurred in this division. See Dkt. No. 1 ¶¶ 10, 15, 19, 24, 29; 28

U.S.C. §§ 124(a), 1391(b). Thus, venue is no longer proper here, and the Court finds that it

is in the interests of justice to transfer the case against UT to a district and division where it

could have been brought. See 28 U.S.C. §§ 1391(b), 1406(a).

       There are multiple potential transferee venues here. UT seeks to transfer the case to

the Western District of Texas, Austin Division, Dkt. No. 36 at 15, while the plaintiff

opposes transfer, Dkt. No. 45 at 9. Accordingly, the Court considers the Austin Division of

the Western District and the Dallas Division of the Northern District, since the plaintiff


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brought suit in the Northern District. See Dkt. No. 1 ¶¶ 10, 29. The Court looks to the

Section 1404(a) factors to determine which district is more convenient. See CUPP

Cybersecurity LLC, 2019 WL 1070869, at *6. Under Section 1404(a), courts analyze four

private interest factors and four public interest factors when considering a motion to

transfer. Volkswagen II, 545 F.3d at 315. In this analysis, “[c]ourts do not afford significant

weight to general allegations that a particular forum would be more convenient for

unspecified witnesses.” McNew v. C.R. Bard, Inc., No. 1:19-CV-195-H, 2020 WL 759299, at

*2 (N.D. Tex. Feb. 14, 2020). However, because this transfer is pursuant to Section 1406(a)

and venue is improper in the Lubbock Division, UT does not have to show that its preferred

venue is “clearly more convenient” than the plaintiff’s choice of venue. See CUPP

Cybersecurity LLC, 2019 WL 1070869, at *7.

       The first private factor, access to sources of proof, weighs in favor of transfer to

Austin. Although “access to some sources of proof presents a lesser inconvenience now”

due to technological advancements, the Fifth Circuit has noted that this factor remains “a

meaningful factor in the analysis.” Volkswagen II, 545 F.3d at 316. The Fifth Circuit has

also noted that the movant’s burden “requires an actual showing of the existence of relevant

sources of proof, not merely an expression that some sources likely exist in the prospective

forum.” Def. Distributed, 30 F.4th at 434. Here, UT does not identify any particular

documents or physical evidence located in Austin. See Dkt. Nos. 36 at 17–18; 51 at 12–13;

51-1 at 2–3. In addition, in either Austin or Dallas, the sources of proof for the four other

schools would still be located outside of that city. However, UT notes that the UT Board of

Regents, which passed the Regents’ Rule allowing affirmative-action policies and generally

governs the UT system, “convenes and has its principal place of business in Austin.” Dkt.



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No. 36 at 17; see also Dkt. No. 36-1 at 5. Indeed, evidence—both documentary and

testimonial—about the Board’s approval of each school’s affirmative-action policies will

likely be relevant and will likely be located in Austin. Further, some witnesses in Austin

may be able to provide testimony or evidence about the entire UT system and UT’s policies

in general. Thus, this factor favors Austin.

       The second private factor, the availability of compulsory process, is neutral. This

factor focuses on “[a]ccess to compulsory process for non-party witnesses.” Def. Distributed,

30 F.4th at 434. Under Federal Rule of Civil Procedure 45(c), a federal court’s subpoena

power allows it to “command a person to attend a trial, hearing, or deposition . . . within

100 miles of where the person resides, is employed, or regularly transacts business in

person.” Fed. R. Civ. P. 45(c)(1)(A). Further, a court may “command a person to attend a

trial, hearing, or deposition . . . within the state where the person resides, is employed, or

regularly transacts business in person, if the person (i) is a party or a party’s officer; or (ii) is

commanded to attend a trial and would not incur substantial expense.” Fed. R. Civ. P.

45(c)(1)(B). UT has presented an affidavit stating that members of each medical school’s

admissions committee may be witnesses in this case, because they make admissions

decisions. Dkt. No. 51-1 at 3. And again, UT also notes that the UT Board of Regents

“convenes and has its principal place of business in Austin.” Dkt. No. 36 at 17; see also Dkt.

No. 36-1 at 5. However, it appears that each of these witnesses resides, is employed, or

regularly transacts business in Texas and thus could be commanded to attend a trial within

Texas, and UT has not addressed whether these witnesses would incur a substantial expense

in doing so. See Fed. R. Civ. P. 45(c)(1)(B). And it appears that the admissions officials, if

re-named as defendants, reside, are employed, or transact business in Texas and thus could



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be commanded to attend a trial or deposition within the state. Finally, a federal court in

either Austin or Dallas could command a witness, such as a member of the admissions

committee, to attend a deposition within 100 miles of their place of employment—the

medical school. See Fed. R. Civ. P. 45(c)(1)(A). Thus, this factor is neutral.

       The third private factor, cost of attendance for willing witnesses, weighs in favor of

Austin. When considering this factor, courts in the Fifth Circuit apply a 100-mile threshold:

“When the distance between an existing venue for trial of a matter and a proposed venue

under [Section] 1404(a) is more than 100 miles, the factor of inconvenience to witnesses

increases in direct relation to the additional distance to be traveled.” Volkswagen II, 545

F.3d at 317 (quoting Volkswagen I, 371 F.3d at 204–05). Here, Austin is more than 100

miles away from Dallas. San Antonio, Houston, and Galveston are each a little closer to

Austin than to Dallas, so transfer to Austin would result in a lower cost of attendance for

willing witnesses in those cities. Further, although the plaintiff’s witnesses would have to be

involved in the litigation in both Lubbock and the second forum, the distances between

Lubbock and Dallas versus Austin are only slightly different. However, if the case were

transferred to Austin, the cost of attendance for Austin witnesses would simply shift to

Dallas witnesses. Because this case must be transferred to a different division, and Austin is

slightly more convenient for the witnesses, this factor weighs in favor of transfer to Austin.

       The fourth private factor—other practical problems that make the case easy,

expeditious, and inexpensive—weighs in favor of Austin. UT argues that because “there is

a pending case involving the University of Texas admissions policies in the Austin

Division,” transferring this case there could “allow the judge to organize the proceedings to

accommodate experts, other witnesses, and counsel,” even if the cases would not be



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consolidated. Dkt. No. 36 at 19 n.7 (quoting McNew, 2020 WL 759299, at *3); see Students

for Fair Admissions, Inc. v. University of Texas at Austin, No. 1:20-cv-763 (W.D. Tex. filed July

20, 2020). Accordingly, transfer to Austin could allow that court to more efficiently process

both cases, and this factor weighs in favor of transfer to Austin.

       Next, the public factors. The first public factor, court congestion, slightly favors the

Dallas Division. UT argues that the Western District has slightly lower court congestion,

including slightly shorter median filing-to-disposition and filing-to-trial periods, although it

admits that “the difference is not great.” Dkt. No. 36 at 19 (citing U.S. District Courts—

Federal Court Management Statistics—Comparison Within Circuit (June 23, 2023),

https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distcomparison0630.

2023.pdf [https://perma.cc/QNP6-8JZC]. However, the most recent statistics indicate that

those periods are now slightly shorter for the Northern District than the Western District.

See U.S. District Courts—Federal Court Management Statistics—Comparison Within Circuit (Dec.

31, 2023), https://www.uscourts.gov/sites/default/files/fcms_na_distcomparison1231.

2023.pdf [https://perma.cc/4FVA-JBC5]. Thus, this factor slightly favors Dallas.

       The second public factor, the local interest in having localized interests decided at

home, is neutral. This factor looks to “the significant connections between a particular

venue and the events that gave rise to a suit.” Def. Distributed, 30 F.4th at 435 (quoting In re

Apple Inc., 979 F.3d 1332, 1345 (Fed. Cir. 2020)). The focus is on “the events—not the

parties” and on “the interest of non-party citizens in adjudicating the case.” In re Clarke, 94

F.4th 502, 511 (5th Cir. 2024) (emphasis omitted). UT argues that Austin has a greater

local interest in adjudicating the plaintiff’s claims because “the policy decisions of the [UT]

Board of Regents” and the approval of any affirmative-action policy used by the defendant



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medical schools took place in Austin. See Dkt. No. 36 at 20. And because the UT system is

centered in Austin, the citizens of Austin may have a greater interest in adjudicating a case

about the system’s affirmative-action policies. However, in another sense, the events that

gave rise to suit—the admissions decisions—occurred at each medical school, giving Austin,

Dallas, and every other city where a defendant UT medical school is located a local interest

in adjudicating this case. And when a case concerns “statewide” conduct, it is often “not

the sort of localized case where the citizens of Austin have a greater ‘stake’ in the litigation

than the citizens of [other cities].” In re Planned Parenthood Fed’n of Am., 52 F.4th 625, 632

(5th Cir. 2022). Similarly, the plaintiff argues that the legality of affirmative-action

programs “is a national issue that has effects everywhere,” so “Austin has no more interest

in adjudicating this case than Lubbock or any other city.” Dkt. No. 45 at 11. Thus, the

Court concludes that this factor is neutral.

       The third public factor, the familiarity of the forum with the law that will govern the

case, slightly favors Austin. The parties agree that federal courts are equally competent to

determine the issues of federal law involved. See Dkt. Nos. 36 at 18; 45 at 10. UT argues

that the Austin Division has considered both a previous challenge under now-overruled

standards and a current challenge to the consideration of race in undergraduate admissions

by the University of Texas at Austin. Dkt. No. 36 at 18–19. Thus, perhaps that court can

more efficiently process this case against UT. But given the recency of SFFA and its sea

change in law, the Court finds that this factor only slightly favors transfer to Austin.

       Finally, the parties agree that there is no issue regarding conflict of law, so the fourth

public factor is neutral. See Dkt. Nos. 36 at 16 n.6; 45 at 10–11.




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       In sum, access to sources of proof, costs of attendance, and considerations of other

practical problems weigh towards transferring to Austin over Dallas. The factor of

familiarity with the governing law weighs slightly in favor of Austin. The factors of

compulsory process, localized interests, and conflict of laws are neutral. And the factor of

court congestion weighs slightly towards Dallas. After balancing these factors, the Court

concludes that UT has shown that the Western District, Austin Division is more convenient

for the parties and witnesses. Thus, the case against UT is transferred to the Western

District of Texas, Austin Division, under Section 1406(a).

4.     Conclusion

       The Court grants in part and denies in part UT’s motion to dismiss (Dkt. No. 35) and

Tech’s motion to dismiss (Dkt. No. 33). UT has shown that the plaintiff’s race-based claims

for prospective declaratory and injunctive relief are moot in the wake of SFFA and the

repeal of Regents’ Rule 40304. Those claims against the UT defendants are dismissed

without prejudice under Rule 12(b)(1). Next, the plaintiff has established his standing for

his remaining race-based claims and has plausibly alleged that the defendants used race-

based admissions preferences, but he has not plausibly alleged the use of sex-based

admissions preferences. Accordingly, his Title IX claim and his sex-based Equal Protection

claim are dismissed under Rule 12(b)(1) and Rule 12(b)(6). With no claims remaining

against them, the individual UT defendants are dismissed entirely. The plaintiff’s Title VI,

Section 1981, and Equal Protection claims based on racial preferences survive against all

Tech defendants, and his Title VI claim survives against the institutional UT defendants for

damages. The Court grants the plaintiff leave to amend his complaint within 14 days from

the date of this Order.




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       However, the plaintiff’s claims against UT cannot proceed with the claims against

Tech in this Court. The UT defendants are improperly joined with the Tech defendants

under Rule 20 because the claims against the two groups do not arise out of the same series

of transactions or occurrences. Once severed, the claims against UT are not properly

brought in this division. But the claims could have been brought in Austin, and Austin is

the most convenient venue for the parties. Accordingly, the Court grants UT’s motion to

sever and transfer the claims against UT to the Western District of Texas, Austin Division

(Dkt. No. 36). The Clerk of Court is directed to sever the claims against the remaining UT

defendants—University of Texas at Austin, UT Health Science Center at Houston, UT

Medical Branch at Galveston, UT Health Science Center at San Antonio, and UT

Southwestern Medical Center—into one separate action and transfer that new civil action to

the Western District of Texas, Austin Division.

       So ordered on July 17, 2024.



                                              JAMES WESLEY HENDRIX
                                              UNITED STATES DISTRICT JUDGE




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